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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                   )
                                                )
               Plaintiffs,                      )
                                                )
vs.                                             )
                                                      No. 1:17-cv-00365-LY
                                                )
GRANDE COMMUNICATIONS                           )
NETWORKS LLC,                                   )
                                                )
               Defendant.
                                                )


      FIFTH ADVISORY IN RESPONSE TO THE COURT’S AUGUST 16, 2018 ORDER

        Pursuant to the Court’s August 16, 2018 Order, Grande Communications Networks LLC

(“Grande”) submits this fifth status update regarding the parties’ efforts to reach an agreement on

Grande’s requests for financial information concerning revenues generated by the works at issue

in this case. See ECF No. 139 at 1-2. Plaintiffs remain either unwilling or unable to provide a

substantive response to Grande’s proposal for resolving this issue.

        On August 27th, following a previous meet and confer by telephone, Grande provided a

specific proposal for Plaintiffs’ consideration (the broad outlines of which were also discussed in

the August 16th hearing before the Court). Under this proposal, Plaintiffs would provide sworn

statements regarding per-download and per-stream royalties paid to Plaintiffs by certain online

music services over 2014-2018, and streaming counts, download revenues, and synchronization

licensing revenues over that same period for 20 songs selected by Grande.

        As set out in Grande’s previous four status updates, the parties have been unable to reach

a resolution because Plaintiffs have not responded to Grande’s proposal. See ECF Nos. 149,

160, 168, 178. In the interim, Plaintiffs have canceled the Rule 30(b)(6) depositions of certain




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corporate designees whose testimony may be impacted by the requested information, on grounds

that they are unwilling to produce the witnesses a second time when this issue is resolved.

Today, Plaintiffs’ counsel advised that Plaintiffs “are actively working on evaluating and

formulating a response,” but did not provide a date certain by which Grande would receive that

response.

       Given Plaintiffs’ repeated requests for more time, Grande is unable to determine whether

the parties have reached an impasse. Grande also notes that this discrete issue does not affect the

other discovery matters currently pending before the Court. As such, Grande would have no

objection to the Court either (1) resolving this issue or (2) issuing its other discovery-related

rulings while deferring consideration of this issue, subject to any subsequent updates from the

parties. Grande will promptly advise the Court in the event the parties reach an agreement that

resolves the dispute.




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Dated: September 21, 2018.


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 21, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy
                                                   Richard L. Brophy




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